             Case 2:19-cv-02276-VAP-GJS Document 1-2 Filed 03/26/19 Page 1 of 3 Page ID #:10



                    1   PETER S. DOODY, ESQ. (Bar No. 127653)
                        doody@higgslaw.com
                    2   JOSEPH J. KAGAN, ESQ. (Bar No. 306534)
                        kaganj@higgslaw.com
                    3   HIGGS FLETCHER & MACK LLP
                        401 West "A" Street, Suite 2600
                    4   San Diego, CA 92101-7913
                        TEL: 619.236.1551
                    5   FAX: 619.696.1410
                    6   Attorneys for Defendant
                        NAVAJO EXPRESS, INC.
                    7
                    8                            UNITED STATES DISTRICT COURT
                    9                          CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11
                        ELIAS NOE MENJIVAR and                        CASE NO. __________________
                 12     MARIA MARIBEL MENJIVAR,
                                                                      DECLARATION OF PETER S.
                 13                                Plaintiffs,        DOODY, ESQ. IN SUPPORT OF
                                                                      DEFENDANT’S NOTICE OF
                 14     v.                                            REMOVAL OF ACTION
                                                                      PURSUANT TO 28 U.S.C.
                 15     NAVAJO EXPRESS, INC.;                         SECTIONS 1332, 1441, AND 1446
                        GERRICK MARQUISE ANDERSON                     (DIVERSITY JURISDICTION)
                 16     and DOES 1 to 50, inclusive,
                                                                      Case Filed: February 14, 2019
                 17                                Defendants.
                 18
                 19                 I, PETER S. DOODY, declare as follows:

                 20                 1.    I am an attorney at law duly licensed to practice before this Court and

                 21     all Courts of the State of California. I am a partner in the law firm of Higgs

                 22     Fletcher & Mack LLP, counsel for Defendant NAVAJO EXPRESS, INC. (“NEI”)

                 23     in the above-captioned matter. I am over the age of 18, have personal knowledge of

                 24     the matters set forth herein, and I could and would testify competently thereto if

                 25     called upon as a witness.

                 26                 2.   I offer this Declaration in support of NEI’s Notice of Removal of

                 27     Action pursuant to 28 U.S.C. sections 1332, 1441, and 1446 (diversity jurisdiction).

                 28     ///
H IGGS F LETCHER &
    M ACK LLP
 ATTORNEYS AT LAW
                        8974623.1                                                        Case No. ___________________
     SAN DIEGO
             Case 2:19-cv-02276-VAP-GJS Document 1-2 Filed 03/26/19 Page 2 of 3 Page ID #:11



                    1               3.    On February 14, 2019, Plaintiffs ELIAS NOE MENJIVAR and
                    2   MARIA MARIBEL MENJIVAR (“Plaintiffs”) filed a Complaint against NEI in the
                    3   Superior Court of the State of California, County of Los Angeles, entitled Elias Noe
                    4   Menjivar, et al. v. Navajo Express, Inc., et al., Case No. 19STCV05037.
                    5               4.    In their Form Complaint, Plaintiff alleges two causes of action arising
                    6   out of an alleged February 22, 2018 motor vehicle accident, including: (1) motor
                    7   vehicle negligence, and (2) general negligence. As a result of the motor vehicle
                    8   accident, Plaintiffs allege they each sustained serious personal injury.
                    9               5.    On March 4, 2019, service of the Summons and Complaint was
                 10     effectuated on NEI. NEI has not answered or otherwise responded to Plaintiffs’
                 11     Complaint in the Superior Court of the State of California, County of Los Angeles.
                 12                 6.    This Notice of Removal is timely. NEI was served on March 4, 2019.
                 13     This Notice of Removal was thus filed within the 30-day statutory period for filing.
                 14     28 U.S.C. § 1446(b).
                 15                 7.    Attached to this Declaration and identified as Exhibit A is a true and
                 16     correct copy of the Summons and pleadings which were served upon NEI.
                 17                 8.    At the time of the incident and continuing, Plaintiff Elias Noe
                 18     Menjivar was and still is a resident of the State of California.
                 19                 9.    At the time of the incident and continuing, Plaintiff Maria Maribel
                 20     Menjivar was and still is a resident of the State of California.
                 21                 10.   At the time of the incident and at the time of removal, Defendant
                 22     Navajo Express, Inc. was and is a corporation organized and incorporated under the
                 23     laws of the State of Colorado, with its principal place of business in Denver,
                 24     Colorado.
                 25                 11.   At the time of the incident and at the time of removal, unserved
                 26     Defendant Gerrick Marquise Anderson was and is a resident of the State of
                 27     Arizona.
                 28     ///
H IGGS F LETCHER &
    M ACK LLP
 ATTORNEYS AT LAW
                        8974623.1                                      2                      Case No. ______________
     SAN DIEGO
             Case 2:19-cv-02276-VAP-GJS Document 1-2 Filed 03/26/19 Page 3 of 3 Page ID #:12



                    1               12.   NEI is the only named defendant who has been served with a
                    2   Summons and Complaint in this case. NEI consents to removal of this action to the
                    3   United States District Court for the Central District of California.
                    4               13.   Venue is proper in this Court because, according to Plaintiffs’
                    5   Complaint, the alleged motor vehicle accident that is the subject of this lawsuit
                    6   occurred in Panorama City, County of Los Angeles, California. In addition,
                    7   Plaintiffs originally filed their Complaint in the Superior Court of California,
                    8   County of Los Angeles, which is located within the Central District of California.
                    9   Thus, venue is proper in this Court because it is the “district and division embracing
                 10     the place where such action is pending.” 28 U.S.C. § 114(a).
                 11                 I declare under penalty of perjury under the laws of the United States of
                 12     America and the State of California that the foregoing is true and correct.
                 13                 Executed this 26th day of March 2019, at San Diego, California.
                 14
                                                                     /s/ Peter S. Doody__________
                 15                                                       PETER S. DOODY
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
H IGGS F LETCHER &
    M ACK LLP
 ATTORNEYS AT LAW
                        8974623.1                                      3                       Case No. ______________
     SAN DIEGO
